             Case 1:19-cv-02488 Document 1 Filed 08/16/19 Page 1 of 7



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JACQUELINE COLEMAN SNEAD
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,            )
                                     )
    By the Department of Justice     )
    1100 L Street, N.W.              )
    Washington, D.C. 20005           )
                                     )
           Plaintiff,                )
                                     )
    v.                               )                Case No. 1:19-cv-2488
                                     )
DURWIN LAIRY,                        )
                                     )
    612 Rock Creek Church Rd., N.W., )
     Washington, D.C. 20010          )
                                     )
           Defendant.                )


                                          COMPLAINT

       Plaintiff, the United States of America, files this action pursuant to the Ethics in

Government Act, 5 U.S.C. app. 4 § 101, et seq. (2006) (“EIGA”), against Durwin Lairy for civil

penalties for knowingly and willfully failing to file the required public financial disclosure report

after his employment terminated with the U.S. Department of Energy (“DOE”).
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                                      Jurisdiction and Venue

       1.      This Court has jurisdiction pursuant to 5 U.S.C. app. 4 § 104(a) and 28 U.S.C.

§§ 1331 and 1345.

       2.      Venue is proper in this judicial district pursuant to 5 U.S.C. app. 4 § 104(a) and

28 U.S.C. § 1391(b) because this judicial district is where Mr. Lairy resides and where a

substantial part of the events and omission giving rise to the claim occurred.

                                               Parties

       3.      Plaintiff is the United States of America.

       4.      Defendant Durwin Lairy is a former consultant in DOE’s Office of Economic

Impact and Diversity. While he was employed with the DOE, Mr. Lairy’s office was located in

Washington, D.C.

                                       Statutory Background

       5.      The EIGA requires individuals who occupy covered positions to file a final public

financial disclosure report on or before the thirtieth day after leaving their position (hereinafter, a

“termination report”), unless they have accepted another covered position. 5 U.S.C. app.

4 § 101(e).

       6.      Among the positions covered by § 101 are “employee[s] in the [E]xecutive

[B]ranch” whose “basic pay is equal to or greater than 120 percent of the minimum rate of basic

pay payable for GS-15 of the General Schedule.” 5 U.S.C. app. 4 § 101(f)(3).

       7.      Section 104(a) of the EIGA authorizes the Attorney General to bring a civil action

in federal district court against any individual “who knowingly and willfully fails to file or report

any information that such individual is required to report” under the EIGA. 5 U.S.C. app 4

§ 104(a).
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       8.        The EIGA provides that a court may assess a civil penalty of up to $50,000

against an individual who knowingly and willfully fails to file a required public financial

disclosure report. 5 U.S.C. app 4 § 104(a)(1). This amount is adjusted upward for inflation

pursuant to the Federal Civil Penalties Inflation Adjustment Act of 1990. 28 U.S.C. § 2461,

note. As of this filing, the maximum civil penalty adjusted for inflation is $60,517. 5 C.F.R.

§ 2634.701(a).

                                       Factual Background

       9.        Beginning October 17, 2016, Mr. Lairy was employed as a consultant in the

DOE’s Office of Economic Impact and Diversity, a position within the Executive Branch.

       10.       Mr. Lairy’s salary was greater than 120 percent of the minimum rate of basic pay

payable for GS-15 of the General Schedule in 2017. See 5 U.S.C. app. 4 § 101(f)(3); United

States Office of Personnel Management, Salary Table for 2017, effective in January 2017,

available at https://www.opm.gov/policy-data-oversight/pay-leave/salaries-wages/2017/general-

schedule/.

       11.       Mr. Lairy filed a new entrant financial disclosure report required under the EIGA.

       12.       Mr. Lairy also filed an annual financial disclosure report during his employment

as required under the EIGA.

       13.       Mr. Lairy’s employment as a DOE consultant was terminated effective September

20, 2017.

       14.       Mr. Lairy did not accept another government position covered by section 101 of

the EIGA after the termination of his employment with DOE.

       15.       On or before October 20, 2017, DOE advised Mr. Lairy of his obligation under

the EIGA to file a termination financial disclosure report within 30 days of his termination date,
              Case 1:19-cv-02488 Document 1 Filed 08/16/19 Page 4 of 7



or that same day. Specifically, on October 20, 2017, an employee in the DOE’s Office of the

Assistant General Counsel for General Law (“DOE Employee”) notified Mr. Lairy of this

obligation via an email sent to the personal email address that Mr. Lairy had provided to DOE in

connection with his employment (hereinafter “provided email address”).

        16.     Mr. Lairy responded to DOE’s October 20, 2017 email, identified in paragraph 15

above, that same day to request an extension of the deadline.

        17.     The DOE Employee responded to Mr. Lairy’s October 20, 2017 email request,

identified in paragraph 16 above, and granted him an extension until November 20, 2017 to file

his report.

        18.     On November 15, 2017, the DOE Employee sent an email to Mr. Lairy’s provided

email address reminding him of the November 20, 2017 deadline, and of the $200 late filing fee

incurred for late filing. Mr. Lairy did not respond to that communication.

        19.     Mr. Lairy did not file his required termination report on or before November 20,

2017.

        20.     Thereafter, the DOE Employee repeatedly attempted to contact Mr. Lairy by

email to the provided email address and by certified letter to the home address he provided DOE.

By emails dated November 29, 2017, and November 14, 2018, and certified letters dated

December 12, 2017, and January 11, 2018, DOE advised Mr. Lairy that he had failed to timely

file his termination report; he had incurred the $200 late filing fee; and he could be assessed a

civil penalty of up to $50,000. The communications also enclosed instructions for filing the

overdue termination report and mailing his $200 late filing payment.

        21.     On January 9, 2018, Mr. Lairy signed the return receipt card for the December 12,

2017 certified letter.
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        22.    Mr. Lairy responded by email on December 11, 2018. In that email, Mr. Lairy

admitted that he had “received notification from the DOE regarding filing [his] report,”

“apologize[d] for [his] lack of communication,” and claimed he was “ready to tackle this issue.”

        23.    Because Mr. Lairy claimed in his email that he had “made attempts to login and

file the report however [his] email address is not in the system,” the DOE Employee who had

contacted him previously attempted over several email exchanges between December 11, 2018,

and January 8, 2019, to help Mr. Lairy resolve his technical problems using the filing system.

        24.    Mr. Lairy’s technical difficulties extended into January 2019, when the Federal

Government shutdown due to a lapse in appropriations. He was advised that “[d]ue to the lapse

in appropriations [further] technical support . . . [was] not [then] available” but would resume

after “those affected by the lapse in appropriations have returned to work.”

        25.    On February 12, 2019, following the restoration of appropriations, the DOE

Employee advised Mr. Lairy by email to his provided email address that “[a]pparently, [his]

access [to the electronic filing system] had been removed” but since had “been reinstated” and

therefore he should “go in and access the report and complete and submit as soon as possible.”

That email also reminded Mr. Lairy about the $200 late filing fee. Mr. Lairy did not respond to

the February 12, 2019 email.

        26.    On April 10, 2019, the DOE Employee sent another email to Mr. Lairy’s provided

email address giving him a “final opportunity” “to complete and submit th[e] required report.”

Mr. Lairy did not respond or avail himself of that opportunity.

        27.    To date, Mr. Lairy has not filed his required termination report or paid the $200

late fee.
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        28.       Pursuant to the regulations of the Executive Office of the Government Ethics, 5

C.F.R. § 2634.701, the DOE referred this matter to the Department of Justice for commencement

of an action authorized by 5 U.S.C. app. 4 § 104(a), and the action was authorized on July 15,

2019.

                                               Count I

        29.       The United States re-alleges and incorporates by reference the allegations made in

paragraphs 1 through 28 above.

        30.       Mr. Lairy has been aware since on or before October 20, 2017, that he was subject

to the EIGA’s requirement that he file a termination financial disclosure report within thirty days

of the termination of his employment within the Executive Branch.

        31.       DOE personnel repeatedly informed Mr. Lairy in writing of his obligation to file

his termination financial disclosure report.

        32.       Notwithstanding the numerous attempts to obtain his compliance, Mr. Lairy has

not filed his termination financial disclosure report even though his employment within the

Executive Branch ended, as of this filing, more than 690 days ago.

        33.       Mr. Lairy violated the EIGA by knowingly and willfully failing to file his

termination financial disclosure report.

                                           Prayer for Relief

        WHEREFORE, the United States of America respectfully requests that the Court issue a

decision and judgment:

        (1) Requiring Durwin Lairy to file his termination financial disclosure report and to pay

              the late filing fee;

        (2) Assessing a civil penalty against Durwin Lairy in an amount up to $60,517;
           Case 1:19-cv-02488 Document 1 Filed 08/16/19 Page 7 of 7



      (3) Awarding the United States its costs incurred herein; and

      (4) Awarding the United States such other and further relief as it deems just and proper.



Dated: August 16, 2019                     Respectfully submitted,

                                           JOSEPH H. HUNT
                                           Assistant Attorney General

                                           ALEXANDER K. HAAS
                                           Director, Federal Programs Branch

                                           JACQUELINE COLEMAN SNEAD
                                           Assistant Branch Director, Federal Programs Branch


                                           /s/ Olivia Hussey Scott
                                           OLIVIA HUSSEY SCOTT
                                           Trial Attorney, Federal Programs Branch
                                           U.S. Department of Justice, Civil Division
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                                           Washington, D.C. 20005
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                                           Email: Olivia.Hussey.Scott@usdoj.gov

                                           Counsel for the United States of America
                           Case 1:19-cv-02488 Document 1-1 Filed 08/16/19 Page 1 of 2
                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                              DEFENDANTS
 United States of America                                                       Durwin Lairy




 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________
                                                                                                                                   D.C.
                                                                                    COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)

 Olivia Hussey Scott, Trial Attorney, Federal Programs
 Branch, Civil Division, U.S. DOJ
 1100 L Street, N.W., Rm. 11112, Washington, D.C. 20005
 (202) 616-8491

 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                           PTF    DFT                                                        PTF           DFT
 o     1 U.S. Government    o     3 Federal Question
         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                   Federal Tax Suits                                  462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                         Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                         defendant)                                465 Other Immigration
      230 Rent, Lease & Ejectment                                                        871 IRS-Third Party 26 USC                         Actions
      240 Torts to Land                 Prisoner Petitions                                    7609                                      470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                    Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                             625 Drug Related Seizure of
                                                                                              Property 21 USC 881                       490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                          690 Other                                     850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                     Other Statutes                                     896 Arbitration
      380 Other Personal Property
                                                                                         375 False Claims Act                           899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                               376 Qui Tam (31 USC                                Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                       3729(a))                                       Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                 400 State Reapportionment                      950 Constitutionality of State
                                                Drug Application                         430 Banks & Banking                                Statutes
                                            840 Trademark                                450 Commerce/ICC                               890 Other Statutory Actions
                                                                                             Rates/etc.                                     (if not administrative agency
                                                                                         460 Deportation                                    review or Privacy Act)
                             Case 1:19-cv-02488 Document 1-1 Filed 08/16/19 Page 2 of 2
 o     G. Habeas Corpus/                       o      H. Employment                            o    I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                    o    M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate        or Reopened         from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   5 U.S.C. app. 4 104(a) - for civil penalties for knowingly and willfully failing to file a required public financial disclosure repo

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $ 60,517                                 Check YES only if demanded in complaint
      COMPLAINT                              ACTION UNDER F.R.C.P. 23
                                                                                     JURY DEMAND:                                YES               NO      ✘
 VIII. RELATED CASE(S)
       IF ANY
                                             (See instruction)
                                                                                 YES                    NO      ✘                If yes, please complete related case form


              8/16/2019
 DATE: _________________________                                                                  /s/ Olivia Hussey Scott
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
                         Case 1:19-cv-02488 Document 1-2 Filed 08/16/19 Page 1 of 2

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the

                                                    __________
                                                    District      District of __________
                                                             of Columbia

                                                                       )
                                                                       )
                  United States of America                             )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No. 1:19-cv-2488
                                                                       )
                                                                       )
                                                                       )
                          Durwin Lairy                                 )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                              Durwin Lairy
                                              612 Rock Creek Church Rd., N.W.,
                                              Washington, D.C. 20010




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Olivia R. Hussey Scott
                                           Trial Attorney, Federal Programs Branch
                                           U.S. Department of Justice, Civil Division
                                           1100 L Street, N.W., Room 11112
                                           Washington, D.C. 20005


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                           Case 1:19-cv-02488 Document 1-2 Filed 08/16/19 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:19-cv-2488

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
